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 8
 9
10                          UNITED STATES DISTRICT COURT
11                         SOUTHERN DISTRICT OF CALIFORNIA
12
           Aaron Ward                                                   '14CV2344 AJB RBB
                                                             Case No: ________________
13
14                              Plaintiff,                   Complaint For Damages
           v.
15                                                           Jury Trial Demanded
16         Verizon Wireless (VAC), LLC and
           Diversified Adjustment Services,
17         Inc.
18
19
20                                             INTRODUCTION
21    1.        The United States Congress has found abundant evidence of the use of
22              abusive, deceptive, and unfair debt collection practices by many debt
23              collectors, and has determined that abusive debt collection practices
24              contribute to the number of personal bankruptcies, to marital instability, to the
25              loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
26              Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
27              “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
28              to insure that those debt collectors who refrain from using abusive debt

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 1          collection practices are not competitively disadvantaged, and to promote
 2          consistent State action to protect consumers against debt collection abuses.
 3    2.    The California legislature has determined that the banking and credit system
 4          and grantors of credit to consumers are dependent upon the collection of just
 5          and owing debts and that unfair or deceptive collection practices undermine
 6          the public confidence that is essential to the continued functioning of the
 7          banking and credit system and sound extensions of credit to consumers. The
 8          Legislature has further determined that there is a need to ensure that debt
 9          collectors exercise this responsibility with fairness, honesty and due regard
10          for the debtor’s rights and that debt collectors must be prohibited from
11          engaging in unfair or deceptive acts or practices.
12    3.    Aaron Ward, (Plaintiff), through Plaintiff's attorneys, brings this action to
13          challenge the actions of Verizon Wireless (VAC), LLC and Diversified
14          Adjustment Services, Inc., (“Defendants”), with regard to attempts by
15          Defendants to unlawfully and abusively collect a debt allegedly owed by
16          Plaintiff, and this conduct caused Plaintiff damages.
17    4.    Plaintiff makes these allegations on information and belief, with the exception
18          of those allegations that pertain to a plaintiff, which Plaintiff alleges on
19          personal knowledge.
20    5.    While many violations are described below with specificity, this Complaint
21          alleges violations of the statutes cited in their entirety.
22    6.    Unless otherwise stated, all the conduct engaged in by Defendants took place
23          in California.
24    7.    Any violations by Defendants were knowing, willful, and intentional, and
25          Defendants did not maintain procedures reasonably adapted to avoid any such
26          specific violation.
27
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 1    8.    Through this complaint, Plaintiff does not allege that any state court judgment
 2          was entered against Plaintiff in error, and Plaintiff does not seek to reverse or
 3          modify any judgment of any state court.
 4                                      JURISDICTION AND VENUE
 5    9.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
 6          1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
 7    10.   This action arises out of Defendants' violations of the Fair Debt Collection
 8          Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), the Rosenthal Fair Debt
 9          Collection Practices Act, California Civil Code §§ 1788-1788.32 (“Rosenthal
10          Act”), California’s identity theft statutes, California Civil Code §§
11          1798.92-1798.97, and the California Consumer Credit Reporting Agencies
12          Act (“CCRAA”), California Civil Code § 1785 et seq.
13    11.   Plaintiff is a resident of San Diego, California.
14    12.   Each of the Defendants regularly operate within the county of San Diego
15          offering their services and/or reaching out to alleged debtors to collect on
16          alleged debts.
17    13.   Defendant Verizon Wireless (VAW), LLC (“Verizon”) regularly offers
18          services and maintains physical storefronts in San Diego County.
19    14.   Defendant Diversified Adjustment Service, Inc. (“DAS”) attempts to collect
20          alleged debts against consumers in San Diego County by sending letters,
21          making phone calls, and reporting on San Diego county resident’s credit
22          reports.
23    15.   Specifically, Verizon was notified by Plaintiff that the alleged debt was the
24          result of identity theft and not owed by Plaintiff. However, Verizon and DAS
25          continue to attempt to collect this alleged debt not owed by Plaintiff from
26          Plaintiff in San Diego county.
27    16.   These services and collection efforts towards Plaintiff by Defendants in the
28          County of San Diego are the actions that give rise to the claim alleged and

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 1          therefore venue is proper in the Southern District of California pursuant to 28
 2          U.S.C. § 1391(b)(2).
 3    17.   At all times relevant, Defendants conducted business within the State of
 4          California.
 5    18.   Because Defendants do business within the State of California, personal
 6          jurisdiction is established.
 7                                                  PARTIES
 8    19.   Plaintiff is a natural person who resides in the City of San Diego, State of
 9          California.
10    20.   Defendant Verizon Wireless (VAW), LLC (“Verizon”) is located in the City of
11          Basking Ridge, in the State of New Jersey.
12    21.   Defendant Diversified Adjustment Service, Inc. (“DAS”) is located in the
13          City of Coon Rapid, in the State of Minnesota.
14    22.   Plaintiff is a natural person allegedly obligated to pay a debt, and is a
15          consumer‚ as that term is defined by 15 U.S.C. § 1692a(3).
16    23.   Defendants are persons who use an instrumentality of interstate commerce or
17          the mails in a business the principal purpose of which is the collection of
18          debts, or who regularly collect or attempt to collect, directly or indirectly,
19          debts owed or due or asserted to be owed or due another and are therefore
20          debt collectors as that phrase is defined by 15 U.S.C. § 1692a(6).
21    24.   Plaintiff is a natural person from whom a debt collector sought to collect a
22          consumer debt which was due and owing or alleged to be due and owing from
23          Plaintiff, and is a debtor as that term is defined by California Civil Code §
24          1788.2(h).
25    25.   Defendants, in the ordinary course of business, regularly, on behalf of
26          themselves, or others, engage in debt collection as that term is defined by
27          California Civil Code § 1788.2(b), are therefore debt collectors as that term is
28          defined by California Civil Code § 1788.2(c).

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 1    26.   This case involves money, property or their equivalent, due or owing or
 2          alleged to be due or owing from a natural person by reason of a consumer
 3          credit transaction. As such, this action arises out of a consumer debt and
 4          “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
 5                                        FACTUAL ALLEGATIONS
 6    27.   Sometime in October 2012 an unknown person willfully obtained Plaintiff’s
 7          personal identifying information, and used that information to fraudulently
 8          open a cellular service account with Verizon, using Plaintiff’s name, social
 9          security number, and an address in Tempe, Arizona, where Plaintiff did not
10          reside.
11    28.   As a result of this identity theft, Plaintiff is alleged to have incurred certain
12          financial obligations to Verizon for this cellular service account.
13    29.   These financial obligations were primarily for personal, family or household
14          purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
15          §1692a(5).
16    30.   These alleged obligations were money, property, or their equivalent, which is
17          due or owing, or alleged to be due or owing, from a natural person to another
18          person and are therefore a “debt” as that term is defined by California Civil
19          Code §1788.2(d), and a “consumer debt” as that term is defined by California
20          Civil Code §1788.2(f).
21    31.   Sometime thereafter, but before September of 2013, Plaintiff allegedly fell
22          behind in the payments allegedly owed on the alleged debt.
23    32.   Subsequently, but before September of 2013, the alleged debt was assigned,
24          placed, or otherwise transferred, to Diversified Consultants, Inc. for
25          collection.
26    33.   Verizon instructed Diversified Consultants, Inc. to take action necessary to
27          collect on the alleged debt.
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 1    34.   On or about September 2013, Plaintiff received a telephone call from
 2          Diversified Consultants, Inc. This telephone call was a “communication” as
 3          15 U.S.C. §1692a(2) defines that term, and a “debt collection” as that phrase
 4          is defined by Cal. Civ. Code § 1788.2(b).
 5    35.   This communication to Plaintiff was a “communication” as that term is
 6          defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
 7          with 15 U.S.C. § 1692g(a).
 8    36.   This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
 9          defines that phrase, and an “initial communication” consistent with Cal. Civ.
10          Code § 1812.700(b).
11    37.   This was the first instance, where Plaintiff became aware of this alleged debt.
12    38.   As a result of the call from Diversified Consultants, Inc. , Plaintiff obtained
13          his Experian credit report on September 20, 2013 and discovered that Verizon
14          was reporting that Plaintiff owed $556.00 to Verizon.
15    39.   The next day, on September 21, 2013, Plaintiff contacted the San Diego
16          Police department and filed a police report regarding the identity theft.
17    40.   Subsequently, but within the thirty-day period described in 15 U.S.C. §
18          1692(a), Plaintiff, through counsel, notified Defendants in writing, that this
19          alleged debt, was disputed, and was a result of fraud. In this letter, Plaintiff’s
20          counsel included the Case Number with the San Diego Police Department,
21          where Plaintiff had filed a report of identity theft.
22    41.   Subsequently, on November 7, 2013, Plaintiff, through counsel, sent a letter to
23          Verizon detailing the evidence that the account reported by Verizon was
24          opened fraudulently and included a copy of a Federal Trade Commission
25          Fraud Affidavit, San Diego Police Report, a copy of Plaintiff's California
26          driver’s license, and a copy of the credit report in dispute.
27    42.   Thereafter, Plaintiff did not hear from Verizon or Diversified Consultants, Inc.
28          and believed the matter to be resolved.

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 1    43.   However, on February 22, 2014 Plaintiff obtained an up-to-date credit report
 2          from Experian and found that Verizon was still reporting that Plaintiff owed
 3          $556.00 to Verizon, despite having been informed that the debt was a result of
 4          fraud and in dispute.
 5    44.   Verizon violated CCRAA § 1785.25(a) by furnishing information to a
 6          consumer credit reporting agency knowing the information was inaccurate.
 7    45.   Through Plaintiff’s November 7, 2013 letter, Plaintiff provided written notice
 8          to Verizon at the address designated by the claimant for complaints related to
 9          credit reporting issues that a situation of identity theft might exist and
10          explaining the facts, as required by Cal. Civ. Code § 1798.93(b)(6)(A).
11    46.   Thereafter, Verizon failed to diligently investigate Plaintiff’s notification of
12          possible identity theft, and continued to pursue its claim against Plaintiff after
13          being presented with facts to demonstrate that the alleged debt was a result of
14          identity theft, as defined by Cal. Penal Code § 530.5.
15    47.   Verizon continued illegal collection actions and continued reporting on
16          Plaintiff’s credit reports after failing to conduct a reasonable investigation into
17          Plaintiff’s identity theft claims violate Cal. Civ. Code § 1798.92 et seq.
18    48.   Through this conduct, Defendant engaged in conduct the natural consequence
19          of which was to harass, oppress, or abuse a person in connection with the
20          collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
21    49.   Through this conduct, Defendant communicated or threatened to
22          communicate to a person credit information which was known or which
23          should have been known to be false, including the failure to communicate that
24          a disputed debt is disputed. Consequently, Defendant violated 15 U.S.C. §
25          1692e(8).
26    50.   Through this conduct, Defendant used false representations or deceptive
27          means to collect or attempt to collect a debt or to obtain information
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 1          concerning a consumer. Consequently, Defendant violated 15 U.S.C. § 1692e
 2          and 15 U.S.C. § 1692e(10).
 3    51.   Through this conduct, Defendant used an unfair or unconscionable means to
 4          collect or attempt to collect any debt. Consequently, Defendant violated 15
 5          U.S.C. § 1692f.
 6    52.   Through this conduct, Defendant was collecting an amount (including any
 7          interest, fee, charge, or expense incidental to the principal obligation) when
 8          such amount was not expressly authorized by the agreement creating the debt
 9          or permitted by law. Consequently, Defendant violated 15 U.S.C. § 1692f(1).
10    53.   Because this violated certain portions of the federal Fair Debt Collection
11          Practices Act as these portions are incorporated by reference in the Rosenthal
12          Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
13          this conduct or omission violated Cal. Civ. Code § 1788.17.
14    54.   Subsequently, on March 20, 2014, Plaintiff, through counsel, submitted his
15          dispute information regarding the identity theft to Experian along with a copy
16          of a Federal Trade Commission Fraud Affidavit, San Diego Police Report, a
17          copy of Plaintiff's California driver’s license, and a copy of the credit report in
18          dispute.
19    55.   After an investigation, the Verizon account was removed from Plaintiff’s
20          Experian credit report.
21    56.   However, despite the several notifications and disputes regarding this alleged
22          account, Verizon continued to pursue Plaintiff by hiring a new debt collector.
23    57.   Subsequently, but before August 12, 2014, the alleged debt was assigned,
24          placed, or otherwise transferred, to Diversified Adjustment Services, Inc.
25          (“DAS”) for collection.
26    58.   Verizon instructed DAS to take action necessary to collect on the alleged debt.
27    59.   On or about August 12, 2014, Plaintiff received a telephone call from DAS.
28          This telephone call was a “communication” as 15 U.S.C. §1692a(2) defines

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 1          that term, and a “debt collection” as that phrase is defined by Cal. Civ. Code §
 2          1788.2(b).
 3    60.   This communication to Plaintiff was a “communication” as that term is
 4          defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
 5          with 15 U.S.C. § 1692g(a).
 6    61.   This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
 7          defines that phrase, and an “initial communication” consistent with Cal. Civ.
 8          Code § 1812.700(b).
 9    62.   For a period of at least two weeks, DAS continued to call Plaintiff through the
10          days.
11    63.   Again, Verizon’s continued illegal collection actions after failing to conduct a
12          diligent investigation into Plaintiff’s identity theft claims violate Cal. Civ.
13          Code § 1798.92 et seq.
14    64.   Through this conduct, Defendant engaged in conduct the natural consequence
15          of which was to harass, oppress, or abuse a person in connection with the
16          collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
17    65.   Through this conduct, Defendant used false representations or deceptive
18          means to collect or attempt to collect a debt or to obtain information
19          concerning a consumer. Consequently, Defendant violated 15 U.S.C. § 1692e
20          and 15 U.S.C. § 1692e(10).
21    66.   Through this conduct, Defendant used an unfair or unconscionable means to
22          collect or attempt to collect any debt. Consequently, Defendant violated 15
23          U.S.C. § 1692f.
24    67.   Through this conduct, Defendant was collecting an amount (including any
25          interest, fee, charge, or expense incidental to the principal obligation) when
26          such amount was not expressly authorized by the agreement creating the debt
27          or permitted by law. Consequently, Defendant violated 15 U.S.C. § 1692f(1).
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 1     68.    Because this violated certain portions of the federal Fair Debt Collection
 2            Practices Act as these portions are incorporated by reference in the Rosenthal
 3            Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
 4            this conduct or omission violated Cal. Civ. Code § 1788.17.
 5                                            CAUSES OF ACTION
 6                                                   COUNT I
 7                       FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
 8                                        15 U.S.C. §§ 1692 ET SEQ.
 9     69.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
10            paragraphs.
11     70.    The foregoing acts and omissions constitute numerous and multiple violations
12            of the FDCPA, including but not limited to each and every one of the above-
13            cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
14     71.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
15            any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
16            an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
17            reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
18            each and every defendant, jointly and severally.
19                                                  COUNT II
20           ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
21                                   CAL. CIV. CODE §§ 1788-1788.32
22     72.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
23            paragraphs.
24     73.    The foregoing acts and omissions constitute numerous and multiple violations
25            of the Rosenthal Act, including but not limited to each and every one of the
26            above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
27     74.    As a result of each and every violation of the Rosenthal Act, Plaintiff is
28            entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);

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 1           statutory damages for a knowing or willful violation in the amount up to
 2           $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
 3           fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from each and every
 4           defendant, jointly and severally.
 5                                                  COUNT III
 6                  CONSUMER CREDIT REPORTING AGENCIES ACT (CCRAA)
 7                                  (CAL. CIVIL CODE § 1785 ET SEQ.)
 8                                    AGAINST DEFENDANT VERIZON
 9     75.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
10           paragraphs.
11     76.   The foregoing acts and omissions constitute numerous and multiple willful,
12           reckless or negligent violations of CCRAA § 1785.25(a).
13     77.   As a result of each and every violation of the CCRAA, Plaintiff suffered
14           denials of credit, worry, fear, distress, frustration, damage to reputation,
15           embarrassment, humiliation, loss of economic opportunity and lost
16           opportunity to obtain credit and is entitled to any actual damages sustained,
17           statutory damages, punitive damages, and reasonable attorney’s fees and costs
18           from Defendant.
19                                                  COUNT IV
20                        VIOLATIONS OF CAL. CIV. CODE § 1798.92-1798.97
21                                    AGAINST DEFENDANT VERIZON
22     78.   Plaintiff incorporates by reference all of the above paragraphs of this
23           Complaint as though fully stated herein.
24     79.   Plaintiff has proffered sufficient evidence to prove by a preponderance of
25           evidence to establish that he was a victim of identity theft.
26     80.   The foregoing acts and omissions constitute numerous and multiple violations
27           of Cal. Civ. Code § 1798.92-1798.97.
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 1     81.   As a result of each and every violation of Cal. Civ. Code § 1798.92-1798.97,
 2           Plaintiff is entitled to a declaration that Plaintiff is not obligated to Defendants
 3           for the Account pursuant to Cal. Civ. Code § 1798.93(c)(1), an injunction
 4           restraining Defendants from collecting on the Account Cal. Civ. Code §
 5           1798.93(c)(3), actual damages, attorney’s fees and costs and any equitable
 6           relief the court deems appropriate Cal. Civ. Code § 1798.93(c)(5), a civil
 7           penalty, in addition to other damages, in the amount of $30,000 Cal. Civ.
 8           Code § 1798.93(c)(6).
 9
10                                           PRAYER FOR RELIEF
11     WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
12     Plaintiff be awarded damages from Defendant, as follows:
13                                                   Count I
14           •       An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
15                   1692k(a)(2)(A);
16           •       An award of costs of litigation and reasonable attorney’s fees, pursuant
17                   to 15 U.S.C. § 1692k(a)(3);
18                                                   Count II
19           •       An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
20                   § 1788.30(b);
21           •       An award of costs of litigation and reasonable attorney’s fees, pursuant
22                   to Cal. Civ. Code § 1788.30(c).
23                                                  Count III
24           •       That there be Judgment in favor of Plaintiff and against Defendant
25                   Verizon jointly and severally for all reasonable damages sustained by
26                   Plaintiff, including but not limited to actual damages, compensatory
27                   damages, out-of-pocket expenses, credit denials, costs and time of
28                   repairing his credit, pain and suffering, embarrassment, inconvenience,

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 1                   lost economic opportunity, loss of incidental time, frustration, emotional
 2                   distress, mental anguish, fear of personal and financial safety and
 3                   security and for punitive/exemplary damages, attorneys fees, court costs
 4                   and other assessments proper by law and any and all other applicable
 5                   federal and state laws, together with legal interest thereon from date of
 6                   judicial demand until paid;
 7                                                  Count IV
 8           •       A declaration that Plaintiff is not obligated to Defendants for the
 9                   Account pursuant to Cal. Civ. Code § 1798.93(c)(1);
10           •       An injunction restraining Defendants from collecting or attempting to
11                   collect from Plaintiff on the claim, from enforcing or attempting to
12                   enforce any security interest or other interest in Plaintiff’s property in
13                   connection with that claim, or from enforcing or executing on any
14                   judgment against the Plaintiff on that claim pursuant to Cal. Civ. Code §
15                   1798.93(c)(3);
16           •       Actual damages, attorney’s fees and costs and any equitable relief the
17                   court deems appropriate Cal. Civ. Code § 1798.93(c)(5); and
18           •       A civil penalty, in addition to any damages, of up to thirty thousand
19                   dollars ($30,000) as Plaintiff has proffered sufficient evidence to
20                   establish by clear and convincing evidence that:
21                    1. Plaintiff provided Defendants written notice that a situation of
22                        identity theft existed and explained the basis for that belief.
23                    2. Defendants failed to diligently investigate the Plaintiff’s
24                        notification of identity theft.
25                    3. Defendants continued to pursue their claim against Plaintiff after
26                        Defendants were presented with facts that were later held to entitle
27                        Plaintiff to a judgment pursuant to Cal. Civ. Code § 1798.93
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 1     2.    Pursuant to the seventh amendment to the Constitution of the United States of
 2           America, Plaintiff is entitled to, and demands, a trial by jury.
 3
 4     Respectfully submitted,
                                                               Hyde & Swigart
 5
 6
       Date: October 2, 2014                             By: /s/Jessica R. K. Dorman
 7
                                                             Jessica R. K. Dorman
 8                                                           Attorneys for Plaintiff
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SXUSRVH RI LQLWLDWLQJ WKH FLYLO GRFNHW VKHHW (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Aaron Ward                                                                                                   Verizon Wireless (VAC), LLC; and Diversified Adjustment Services,
                                                                                                             Inc.

    (b) &RXQW\ RI 5HVLGHQFH RI )LUVW /LVWHG 3ODLQWLII             San Diego                                    &RXQW\ RI 5HVLGHQFH RI )LUVW /LVWHG 'HIHQGDQW
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
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                                                                                                                                                      '14CV2344 AJB RBB
    (c) $WWRUQH\V (Firm Name, Address, and Telephone Number)                                                    $WWRUQH\V (If Known)
Jessica R. K. Dorman, Esq. (279919); Robert L. Hyde, Esq. (227183)
Hyde & Swigart                       (619) 233-7770
2221 Camino Del Rio South, Suite 101, San Diego, CA 92108

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
u     86 *RYHUQPHQW                u      )HGHUDO 4XHVWLRQ                                                                     PTF           DEF                                           PTF      DEF
         3ODLQWLII                              (U.S. Government Not a Party)                        &LWL]HQ RI 7KLV 6WDWH         u            u        ,QFRUSRUDWHG or 3ULQFLSDO 3ODFH      u       u 
                                                                                                                                                             RI %XVLQHVV ,Q 7KLV 6WDWH

u     86 *RYHUQPHQW                u      'LYHUVLW\                                              &LWL]HQ RI $QRWKHU 6WDWH          u         u       ,QFRUSRUDWHG and 3ULQFLSDO 3ODFH     u       u 
         'HIHQGDQW                              (Indicate Citizenship of Parties in Item III)                                                                 RI %XVLQHVV ,Q $QRWKHU 6WDWH

                                                                                                     &LWL]HQ RU 6XEMHFW RI D           u         u       )RUHLJQ 1DWLRQ                       u       u 
                                                                                                       )RUHLJQ &RXQWU\
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                     OTHER STATUTES
u    ,QVXUDQFH                        PERSONAL INJURY                PERSONAL INJURY              u  'UXJ 5HODWHG 6HL]XUH             u  $SSHDO  86&             u    )DOVH &ODLPV $FW
u    0DULQH                       u    $LUSODQH                 u  3HUVRQDO ,QMXU\               RI 3URSHUW\  86&            u  :LWKGUDZDO                   u    6WDWH 5HDSSRUWLRQPHQW
u    0LOOHU $FW                   u    $LUSODQH 3URGXFW               3URGXFW /LDELOLW\        u  2WKHU                                   86&                    u    $QWLWUXVW
u    1HJRWLDEOH ,QVWUXPHQW                 /LDELOLW\               u  +HDOWK &DUH                                                                                       u    %DQNV DQG %DQNLQJ
u    5HFRYHU\ RI 2YHUSD\PHQW      u    $VVDXOW /LEHO                 3KDUPDFHXWLFDO                                                    PROPERTY RIGHTS                  u    &RPPHUFH
           (QIRUFHPHQW RI -XGJPHQW            6ODQGHU                       3HUVRQDO ,QMXU\                                                 u  &RS\ULJKWV                   u    'HSRUWDWLRQ
u    0HGLFDUH $FW                 u    )HGHUDO (PSOR\HUV¶             3URGXFW /LDELOLW\                                               u  3DWHQW                       u    5DFNHWHHU ,QIOXHQFHG DQG
u    5HFRYHU\ RI 'HIDXOWHG                 /LDELOLW\               u  $VEHVWRV 3HUVRQDO                                               u  7UDGHPDUN                            &RUUXSW 2UJDQL]DWLRQV
        6WXGHQW /RDQV                u    0DULQH                         ,QMXU\ 3URGXFW                                                                                     u    &RQVXPHU &UHGLW
        ([FOXGHV 9HWHUDQV          u    0DULQH 3URGXFW                 /LDELOLW\                              LABOR                        SOCIAL SECURITY                u    &DEOH6DW 79
u    5HFRYHU\ RI 2YHUSD\PHQW               /LDELOLW\                PERSONAL PROPERTY             u    )DLU /DERU 6WDQGDUGV           u    +,$ II               u    6HFXULWLHV&RPPRGLWLHV
        RI 9HWHUDQ¶V %HQHILWV        u    0RWRU 9HKLFOH            u  2WKHU )UDXG                       $FW                           u    %ODFN /XQJ                    ([FKDQJH
u    6WRFNKROGHUV¶ 6XLWV          u    0RWRU 9HKLFOH            u  7UXWK LQ /HQGLQJ         u    /DERU0DQDJHPHQW               u    ',:&',:: J         u    2WKHU 6WDWXWRU\ $FWLRQV
u    2WKHU &RQWUDFW                       3URGXFW /LDELOLW\        u  2WKHU 3HUVRQDO                    5HODWLRQV                     u    66,' 7LWOH ;9,             u    $JULFXOWXUDO $FWV
u    &RQWUDFW 3URGXFW /LDELOLW\   u    2WKHU 3HUVRQDO                 3URSHUW\ 'DPDJH          u    5DLOZD\ /DERU $FW              u    56, J               u    (QYLURQPHQWDO 0DWWHUV
u    )UDQFKLVH                            ,QMXU\                   u  3URSHUW\ 'DPDJH          u    )DPLO\ DQG 0HGLFDO                                                u    )UHHGRP RI ,QIRUPDWLRQ
                                     u    3HUVRQDO ,QMXU\               3URGXFW /LDELOLW\                 /HDYH $FW                                                                $FW
                                             0HGLFDO 0DOSUDFWLFH                                     u    2WKHU /DERU /LWLJDWLRQ                                            u    $UELWUDWLRQ
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u    (PSOR\HH 5HWLUHPHQW              FEDERAL TAX SUITS                u    $GPLQLVWUDWLYH 3URFHGXUH
u    /DQG &RQGHPQDWLRQ            u    2WKHU &LYLO 5LJKWV         Habeas Corpus:                       ,QFRPH 6HFXULW\ $FW            u  7D[HV 86 3ODLQWLII                $FW5HYLHZ RU $SSHDO RI
u    )RUHFORVXUH                  u    9RWLQJ                   u  $OLHQ 'HWDLQHH                                                         RU 'HIHQGDQW                       $JHQF\ 'HFLVLRQ
u    5HQW /HDVH (MHFWPHQW         u    (PSOR\PHQW               u  0RWLRQV WR 9DFDWH                                               u  ,56²7KLUG 3DUW\              u    &RQVWLWXWLRQDOLW\ RI
u    7RUWV WR /DQG                u    +RXVLQJ                       6HQWHQFH                                                                86&                          6WDWH 6WDWXWHV
u    7RUW 3URGXFW /LDELOLW\               $FFRPPRGDWLRQV           u  *HQHUDO
u    $OO 2WKHU 5HDO 3URSHUW\      u    $PHU Z'LVDELOLWLHV    u  'HDWK 3HQDOW\                  IMMIGRATION
                                             (PSOR\PHQW                 Other:                       u  1DWXUDOL]DWLRQ $SSOLFDWLRQ
                                     u    $PHU Z'LVDELOLWLHV    u  0DQGDPXV 2WKHU           u  2WKHU ,PPLJUDWLRQ
                                             2WKHU                    u  &LYLO 5LJKWV                   $FWLRQV
                                     u    (GXFDWLRQ                u  3ULVRQ &RQGLWLRQ
                                                                      u  &LYLO 'HWDLQHH 
                                                                            &RQGLWLRQV RI
                                                                            &RQILQHPHQW
V. ORIGIN (Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHG IURP                 u          5HPDQGHG IURP             u  5HLQVWDWHG RU       u  7UDQVIHUUHG IURP               u  0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH &RXUW                              $SSHOODWH &RXUW               5HRSHQHG                $QRWKHU 'LVWULFW                   /LWLJDWLRQ
                                                                                                                                (specify)
                                          &LWH WKH 86 &LYLO 6WDWXWH XQGHU ZKLFK \RX DUH ILOLQJ (Do not cite jurisdictional statutes unless diversity)
                                          15 U.S.C. § 1692 et seq.
VI. CAUSE OF ACTION %ULHI GHVFULSWLRQ RI FDXVH
                                          Violations of the Fair Debt Collection Practices Act
VII. REQUESTED IN     u &+(&. ,) 7+,6 ,6 $ CLASS ACTION                                                  DEMAND $                                      &+(&. <(6 RQO\ LI GHPDQGHG LQ FRPSODLQW
     COMPLAINT:          81'(5 58/(  )5&Y3                                                          75,000.00                                   JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                                '2&.(7 180%(5
'$7(                                                                     6,*1$785( 2) $77251(< 2) 5(&25'
10/03/2014                                                              s/Jessica R. K. Dorman
FOR OFFICE USE ONLY

    5(&(,37                       $02817                                     $33/<,1* ,)3                                      -8'*(                              0$* -8'*(
               Case 3:14-cv-02344-AJB-RBB Document 1 Filed 10/03/14 PageID.16 Page 16 of 16
-6  5HYHUVH 5HY 


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                $XWKRULW\ )RU &LYLO &RYHU 6KHHW

7KH -6  FLYLO FRYHU VKHHW DQG WKH LQIRUPDWLRQ FRQWDLQHG KHUHLQ QHLWKHU UHSODFHV QRU VXSSOHPHQWV WKH ILOLQJV DQG VHUYLFH RI SOHDGLQJ RU RWKHU SDSHUV DV
UHTXLUHG E\ ODZ H[FHSW DV SURYLGHG E\ ORFDO UXOHV RI FRXUW 7KLV IRUP DSSURYHG E\ WKH -XGLFLDO &RQIHUHQFH RI WKH 8QLWHG 6WDWHV LQ 6HSWHPEHU  LV
UHTXLUHG IRU WKH XVH RI WKH &OHUN RI &RXUW IRU WKH SXUSRVH RI LQLWLDWLQJ WKH FLYLO GRFNHW VKHHW &RQVHTXHQWO\ D FLYLO FRYHU VKHHW LV VXEPLWWHG WR WKH &OHUN RI
&RXUW IRU HDFK FLYLO FRPSODLQW ILOHG 7KH DWWRUQH\ ILOLQJ D FDVH VKRXOG FRPSOHWH WKH IRUP DV IROORZV

I.(a)    Plaintiffs-Defendants. (QWHU QDPHV ODVW ILUVW PLGGOH LQLWLDO RI SODLQWLII DQG GHIHQGDQW ,I WKH SODLQWLII RU GHIHQGDQW LV D JRYHUQPHQW DJHQF\ XVH
         RQO\ WKH IXOO QDPH RU VWDQGDUG DEEUHYLDWLRQV ,I WKH SODLQWLII RU GHIHQGDQW LV DQ RIILFLDO ZLWKLQ D JRYHUQPHQW DJHQF\ LGHQWLI\ ILUVW WKH DJHQF\ DQG
         WKHQ WKH RIILFLDO JLYLQJ ERWK QDPH DQG WLWOH
  (b)    County of Residence. )RU HDFK FLYLO FDVH ILOHG H[FHSW 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ ZKHUH WKH ILUVW OLVWHG SODLQWLII UHVLGHV DW WKH
         WLPH RI ILOLQJ ,Q 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ LQ ZKLFK WKH ILUVW OLVWHG GHIHQGDQW UHVLGHV DW WKH WLPH RI ILOLQJ 127( ,Q ODQG
         FRQGHPQDWLRQ FDVHV WKH FRXQW\ RI UHVLGHQFH RI WKH GHIHQGDQW LV WKH ORFDWLRQ RI WKH WUDFW RI ODQG LQYROYHG
  (c)    Attorneys. (QWHU WKH ILUP QDPH DGGUHVV WHOHSKRQH QXPEHU DQG DWWRUQH\ RI UHFRUG ,I WKHUH DUH VHYHUDO DWWRUQH\V OLVW WKHP RQ DQ DWWDFKPHQW QRWLQJ
         LQ WKLV VHFWLRQ VHH DWWDFKPHQW 

II.      Jurisdiction. 7KH EDVLV RI MXULVGLFWLRQ LV VHW IRUWK XQGHU 5XOH D )5&Y3 ZKLFK UHTXLUHV WKDW MXULVGLFWLRQV EH VKRZQ LQ SOHDGLQJV 3ODFH DQ ;
         LQ RQH RI WKH ER[HV ,I WKHUH LV PRUH WKDQ RQH EDVLV RI MXULVGLFWLRQ SUHFHGHQFH LV JLYHQ LQ WKH RUGHU VKRZQ EHORZ
         8QLWHG 6WDWHV SODLQWLII  -XULVGLFWLRQ EDVHG RQ  86&  DQG  6XLWV E\ DJHQFLHV DQG RIILFHUV RI WKH 8QLWHG 6WDWHV DUH LQFOXGHG KHUH
         8QLWHG 6WDWHV GHIHQGDQW  :KHQ WKH SODLQWLII LV VXLQJ WKH 8QLWHG 6WDWHV LWV RIILFHUV RU DJHQFLHV SODFH DQ ; LQ WKLV ER[
         )HGHUDO TXHVWLRQ  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH MXULVGLFWLRQ DULVHV XQGHU WKH &RQVWLWXWLRQ RI WKH 8QLWHG 6WDWHV DQ DPHQGPHQW
         WR WKH &RQVWLWXWLRQ DQ DFW RI &RQJUHVV RU D WUHDW\ RI WKH 8QLWHG 6WDWHV ,Q FDVHV ZKHUH WKH 86 LV D SDUW\ WKH 86 SODLQWLII RU GHIHQGDQW FRGH WDNHV
         SUHFHGHQFH DQG ER[  RU  VKRXOG EH PDUNHG
         'LYHUVLW\ RI FLWL]HQVKLS  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH SDUWLHV DUH FLWL]HQV RI GLIIHUHQW VWDWHV :KHQ %R[  LV FKHFNHG WKH
         FLWL]HQVKLS RI WKH GLIIHUHQW SDUWLHV PXVW EH FKHFNHG. 6HH 6HFWLRQ ,,, EHORZ; NOTE: federal question actions take precedence over diversity
         cases.

III.     Residence (citizenship) of Principal Parties. 7KLV VHFWLRQ RI WKH -6  LV WR EH FRPSOHWHG LI GLYHUVLW\ RI FLWL]HQVKLS ZDV LQGLFDWHG DERYH 0DUN WKLV
         VHFWLRQ IRU HDFK SULQFLSDO SDUW\

IV.      Nature of Suit. 3ODFH DQ ; LQ WKH DSSURSULDWH ER[ ,I WKH QDWXUH RI VXLW FDQQRW EH GHWHUPLQHG EH VXUH WKH FDXVH RI DFWLRQ LQ 6HFWLRQ 9, EHORZ LV
         VXIILFLHQW WR HQDEOH WKH GHSXW\ FOHUN RU WKH VWDWLVWLFDO FOHUNV LQ WKH $GPLQLVWUDWLYH 2IILFH WR GHWHUPLQH WKH QDWXUH RI VXLW ,I WKH FDXVH ILWV PRUH WKDQ
         RQH QDWXUH RI VXLW VHOHFW WKH PRVW GHILQLWLYH

V.       Origin. 3ODFH DQ ; LQ RQH RI WKH VL[ ER[HV
         2ULJLQDO 3URFHHGLQJV  &DVHV ZKLFK RULJLQDWH LQ WKH 8QLWHG 6WDWHV GLVWULFW FRXUWV
         5HPRYHG IURP 6WDWH &RXUW  3URFHHGLQJV LQLWLDWHG LQ VWDWH FRXUWV PD\ EH UHPRYHG WR WKH GLVWULFW FRXUWV XQGHU 7LWOH  86& 6HFWLRQ 
         :KHQ WKH SHWLWLRQ IRU UHPRYDO LV JUDQWHG FKHFN WKLV ER[
         5HPDQGHG IURP $SSHOODWH &RXUW  &KHFN WKLV ER[ IRU FDVHV UHPDQGHG WR WKH GLVWULFW FRXUW IRU IXUWKHU DFWLRQ 8VH WKH GDWH RI UHPDQG DV WKH ILOLQJ
         GDWH
         5HLQVWDWHG RU 5HRSHQHG  &KHFN WKLV ER[ IRU FDVHV UHLQVWDWHG RU UHRSHQHG LQ WKH GLVWULFW FRXUW 8VH WKH UHRSHQLQJ GDWH DV WKH ILOLQJ GDWH
         7UDQVIHUUHG IURP $QRWKHU 'LVWULFW  )RU FDVHV WUDQVIHUUHG XQGHU 7LWOH  86& 6HFWLRQ D 'R QRW XVH WKLV IRU ZLWKLQ GLVWULFW WUDQVIHUV RU
         PXOWLGLVWULFW OLWLJDWLRQ WUDQVIHUV
         0XOWLGLVWULFW /LWLJDWLRQ  &KHFN WKLV ER[ ZKHQ D PXOWLGLVWULFW FDVH LV WUDQVIHUUHG LQWR WKH GLVWULFW XQGHU DXWKRULW\ RI 7LWOH  86& 6HFWLRQ 
         :KHQ WKLV ER[ LV FKHFNHG GR QRW FKHFN  DERYH

VI.      Cause of Action. 5HSRUW WKH FLYLO VWDWXWH GLUHFWO\ UHODWHG WR WKH FDXVH RI DFWLRQ DQG JLYH D EULHI GHVFULSWLRQ RI WKH FDXVH Do not cite jurisdictional
         statutes unless diversity. ([DPSOH 86 &LYLO 6WDWXWH  86&  %ULHI 'HVFULSWLRQ 8QDXWKRUL]HG UHFHSWLRQ RI FDEOH VHUYLFH

VII.     Requested in Complaint. &ODVV $FWLRQ 3ODFH DQ ; LQ WKLV ER[ LI \RX DUH ILOLQJ D FODVV DFWLRQ XQGHU 5XOH  )5&Y3
         'HPDQG ,Q WKLV VSDFH HQWHU WKH DFWXDO GROODU DPRXQW EHLQJ GHPDQGHG RU LQGLFDWH RWKHU GHPDQG VXFK DV D SUHOLPLQDU\ LQMXQFWLRQ
         -XU\ 'HPDQG &KHFN WKH DSSURSULDWH ER[ WR LQGLFDWH ZKHWKHU RU QRW D MXU\ LV EHLQJ GHPDQGHG

VIII. Related Cases. 7KLV VHFWLRQ RI WKH -6  LV XVHG WR UHIHUHQFH UHODWHG SHQGLQJ FDVHV LI DQ\ ,I WKHUH DUH UHODWHG SHQGLQJ FDVHV LQVHUW WKH GRFNHW
      QXPEHUV DQG WKH FRUUHVSRQGLQJ MXGJH QDPHV IRU VXFK FDVHV

Date and Attorney Signature. 'DWH DQG VLJQ WKH FLYLO FRYHU VKHHW
